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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                               LAFAYETTE DIVISION


 LAUREN CUNNINGHAM                               CIVIL ACTION NO. 18-0558

 VERSUS                                          JUDGE S. MAURICE HICKS, JR.

 ZEUS CAFÉ, INC., ZEUS                           MAGISTRATE JUDGE WHITEHURST
 MEDITERRANEAN, LLC, ZEUS, UL,
 LLC, ZEUS CAFÉ NEW ORLEANS, LLC,
 BALBEISI FOOD SERVICES, LLC,
 BALBEISI RESTAURANT GROUP, INC.,
 NIDAL BALBEISI and AMJAD AL-BAQAIN


                                        ORDER

         Based on the foregoing Memorandum Ruling,

         IT IS ORDERED that the Motion To Dismiss Pursuant To Rule 12(b)(6) And/Or

 Motion For Summary Judgment (Record Document 18) filed by defendant, Amjad Al-

 Baqain, be and is hereby GRANTED IN PART and DENIED IN PART. The motion is

 GRANTED to the extent that it seeks dismissal of any claims the plaintiff may have made

 pursuant to Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000(e), et seq., the

 Louisiana Human Rights Act, La. R.S. 51:2231, et seq., or 42 U.S.C. § 1981 against Amjad

 Al-Baqain, and these claims are DISMISSED WITH PREJUDICE. The motion is DENIED

 in all other respects.

         THUS DONE AND SIGNED, in Shreveport, Louisiana, this 21st day of September,

 2018.
